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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

    RUBY FREEMAN


    and                                             Civil Action No. 21-3354 (BAH)


    WANDREA MOSS,


                         Plaintiffs,


           v.


    RUDOLPH W. GIULIANI,


                         Defendant.



                      CONSENT MOTION TO AMEND CASE CAPTION

          In anticipation of entry of final judgment in this matter, Plaintiffs Ruby Freeman and

Wandrea’ ArShaye “Shaye” Moss (“Plaintiffs”) respectfully request that the Court amend the case

caption to 1) reflect that Defendant Giuliani is the only remaining defendant in the case1 and

2) correct the spelling of Ms. Moss’s first name. Counsel for Plaintiffs has conferred with counsel

for Defendant, who consents to the relief requested in this motion. Plaintiffs have attached a

proposed order implementing the requested relief.



1
  After all other defendants were dismissed from the case, Plaintiffs filed an amended complaint
that named only Defendant Giuliani as a defendant. The docket continues to list the case caption
as “Freeman, et al., v. Herring Networks Inc., et al.” See 21-cv-3354. Although Plaintiffs
understand that this reflects the Clerk of Court’s common practice in maintaining the docket,
Plaintiffs respectfully submit that the circumstances of this case and the forthcoming entry of final
judgment warrant this minor correction, and Defendant consents in that request.
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DATED: December 15, 2023                       Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I certify that the foregoing was served on counsel for all parties on December 15, 2023, by

filing it with the Court’s CM/ECF system.

                                            s/ Michael J. Gottlieb




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